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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7      DAVID A. STEBBINS,                               Case No. 23-cv-00322-TLT
                                                         Plaintiff,
                                   8
                                                                                           ORDER DENYING PLAINTIFF'S
                                                  v.                                       MOTION TO SET ASIDE JUDGMENT
                                   9
                                                                                           AND MOTION TO RECONSIDER
                                  10      GOOGLE LLC,
                                                                                           ECF: 73, 80
                                                         Defendant.
                                  11
                                        INTRODUCTION
                                  12
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                                  13           Pro se plaintiff David Stebbins (“Plaintiff”) filed a Motion to Set Aside Judgment under

                                  14    Rule 60(b), requesting the Court to vacate or modify its’ Order Granting Motion to Dismiss and to

                                  15    Declare Plaintiff a Vexatious Litigant. ECF 71, 73. Fed. R. Civ. P. 60(b). The Motion to Set
                                  16
                                        Aside Judgment, however, also requests the Court to reconsider several interlocutory orders
                                  17
                                        under Rule 54(b). Fed. R. Civ. P. 54(b).
                                  18
                                               Google LLC (“Defendant”) filed a timely opposition to the Motion to Vacate bringing
                                  19
                                        awareness of Plaintiff’s procedural noncompliance regarding the, in effect, Motion for
                                  20

                                  21    Reconsideration embedded in his Motion to Vacate. ECF 73, 78. Plaintiff responded by filing a

                                  22    formal Motion to Leave to File a Motion for Reconsideration, following appropriate procedure
                                  23    under Local Rule 7-9. ECF 80.
                                  24
                                               Plaintiff’s Motions are hereby DENIED for the reasons set forth below.
                                  25
                                        FACTS
                                  26
                                           Plaintiff David Stebbins operates a YouTube channel and Twitch stream by the name of
                                  27
                                  28    “Acerthorn.” Compl. ¶ 1. In May 2021, he performed a livestream on his Twitch channel that can
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                                        be accessed at “https://www.youtube.com/watch?v=iDKSx4oi-r0.” Compl. ¶ 5. The livestream
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                                   2    included a staged discussion about a video game called Dark Souls, including staged expressions,

                                   3    such as Stebbins’ facial grin at timestamp 2:17:55–2:18:23, which can be viewed at

                                   4    “https://youtu.be/iDKSx4oi-r0?t=8275.” Compl. ¶ 7. He copyrighted this stream in January 2022
                                   5
                                        with the U.S. Copyright Office. Compl. ¶ 10. Another YouTube channel that goes by “Acerthorn
                                   6
                                        the True Acerthorn,” created to harass and dox the Plaintiff, allegedly infringed Plaintiff’s registered
                                   7
                                        copyright by using a screenshot of the Plaintiff’s face at the timestamp mentioned above and using
                                   8
                                        it as the channel’s icon. Compl. ¶ 12. Stebbins issued a Digital Millenium Copyright Act (“DMCA”)
                                   9

                                  10    takedown notice to Defendant Google on August 4, 2022. Compl. ¶ 18. However, Google did not

                                  11    remove the allegedly infringing icon and instead requested “additional information.” Compl. ¶ 19.
                                  12    The current claim was filed after Google filed an “opt-out” form in response to Plaintiff filing a
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                                  13
                                        claim against Google with the Copyright Claims Board. Compl. ¶ 20.
                                  14
                                        PROCEDURAL HISTORY
                                  15
                                           Plaintiff filed the initial complaint on January 20, 2023. ECF 1. The complaint was missing a
                                  16

                                  17    few pages, so the Plaintiff filed a “corrected” version four days later. ECF 5. Defendant Google filed

                                  18    a Motion to Dismiss and declare Plaintiff a Vexatious Litigant on March 6, 2023. ECF 31. The Court

                                  19    granted the motion on August 31, 2023. ECF 71. The following day, Plaintiff filed a Motion to Set
                                  20    Aside Judgment. ECF 73. In its’ opposition, Google noted that the Motion to Set Aside Judgment
                                  21
                                        included several challenges to interlocutory orders (i.e., those that are not final judgments), which
                                  22
                                        procedurally must abide by Civil Local Rule 7-9, namely, to file a motion for leave prior to a Motion
                                  23
                                        to Reconsider. ECF 78. Following the opposition, Plaintiff filed a Motion for Leave to File a Motion
                                  24

                                  25    for Reconsideration. ECF 80.

                                  26    STANDARD OF REVIEW

                                  27       I.      Motion to Vacate Final Judgment
                                  28
                                                A Court may relieve a party from a final judgment for “mistake, inadvertence, surprise, or
                                                                                        2
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                                        excusable neglect.” Fed. R. Civ. P. 60(b)(1). “The judgment . . . is based on an earlier judgment that
                                   1

                                   2    has been reversed or vacated;” or “any other reason that justifies relief.” Fed. R. Civ. P. 60(b)(5) &

                                   3    (b)(6).

                                   4              Mistakes are a judge’s legal or factual errors under Rule 60(b)(1). Kemp v. United States,
                                   5
                                        596 U.S. 528 (2022).
                                   6
                                                  Rule 60(b)(6) is used “sparingly,” and a party must show that “extraordinary
                                   7
                                        circumstances” that prevent prosecuting the case. Lal v. California, 610 F.3d 518, 524 (9th Cir.
                                   8
                                        2010). The party must show injury and circumstances beyond control, which prevented them from
                                   9

                                  10    proceeding with the prosecution. Cmty. Dental Servs. V. Tani, 282 F.3d 1164, 1168 (9th Cir.

                                  11    2002).
                                  12        II.      Motion for Leave to File Motion for Reconsideration
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                                                  A Motion for Leave to file a Motion for Reconsideration must meet the procedural
                                  14
                                        requirements of Civil Local Rule 7-9. A party is required to seek leave from the Court to challenge
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                                        any interlocutory order with a Motion for Reconsideration. Civ. Loc. R. 7-9(a).
                                  16

                                  17              Under the Local Rule, a party must show one of three factors. Civ. Loc. R. 7-9(b). First,

                                  18    that at the time of filing the motion for leave, there was a material difference in fact or law that

                                  19    existed at the time of the interlocutory order but was not presented to the court. Civ. Loc. R. 7-
                                  20    9(b)(1). Second, new material facts or a change of law came to light after the interlocutory order.
                                  21
                                        Third, “a manifest failure by the Court to consider material facts or dispositive legal arguments
                                  22
                                        which were presented to the Court before such interlocutory order.” Civ. Loc. R. 7-9(b)(3).
                                  23
                                                  “‘[A] motion for reconsideration should not be granted, absent highly unusual
                                  24

                                  25    circumstances, unless the district court is presented with newly discovered evidence, committed

                                  26    clear error, or if there is an intervening change in the controlling law.’” Kona Enters. v. Est. of

                                  27    Bishop, 229 F.3d 877, 890 (9th Cir. 2000).
                                  28
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                                        DISCUSSION
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                                   2           I.      Motion for Leave to File for Reconsideration

                                   3           As an initial matter, the Court DENIES the Motion for Leave to File Motion for

                                   4    Reconsideration (ECF 80) because it was filed on September 17, 2023, after a final judgment was
                                   5
                                        rendered. Therefore, the Motion is moot. See Fed. R. Civ. P. 54(b) (“[A]ny order . . . that
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                                        adjudicates fewer than all the claims . . . may be revised at any time before the entry of final
                                   7
                                        judgment adjudicating all the claims . . . .”).
                                   8
                                               Furthermore, any arguments aimed at interlocutory orders in the Motion to Set Aside
                                   9

                                  10    Judgment, ECF 73, will go unaddressed here because the Plaintiff did not properly file a request

                                  11    for leave before putting forth such arguments to reconsider the Court’s interlocutory orders. See
                                  12    Civ. Loc. R. 7-9(a).
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                                               II.     Motion to Set Aside the Judgment
                                  14
                                               The Plaintiff brings several arguments, many of them repeated from past filings, that
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                                        attempt to flush out “egregious oversights” in the Court’s analysis. We find that Plaintiff’s
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                                  17    arguments are unpersuasive, do not address the legal standards set forth above, and are further

                                  18    evidence that he should not have access to the Court’s filing system as a vexatious litigant.

                                  19    Specifically, they did not point to factual or legal mistakes that were inadvertent or surprising
                                  20    under the appropriate legal standards. Plus, there was no excusable neglect. See Fed. R. Civ. P.
                                  21
                                        60(b). Last, the Plaintiff has not shown why any “extraordinary circumstances” should prevent the
                                  22
                                        prosecution of this action. See Lal, 610 F.3d at 524.
                                  23

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                                               The Court finds that it did not commit factual or legal error in its’ final judgment such that
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                                   2    the Plaintiff is to be relieved under Rule 60. The Motion to Vacate is hereby DENIED.

                                   3           IT IS SO ORDERED.

                                   4           This Order resolves ECF 73, 80.
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                                               Dated: March 26, 2024                                  ______________________________
                                   6                                                                    Trina L. Thompson
                                                                                                        United States District Court Judge
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